     Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 1 of 22



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION


STATE OF MISSISSIPPI, et al.,
                                             Civil Action No. 1:22-cv-00113-HSO-RPM
       Plaintiffs,

v.

XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services,
et al.,

       Defendants.


     REPLY IN FURTHER SUPPORT OF DEFENDANTS’ CROSS-MOTION FOR
                        SUMMARY JUDGMENT
       Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 2 of 22



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

I.        PLAINTIFF STATES HAVE FAILED TO CARRY THEIR BURDEN TO
          ESTABLISH STANDING AT THE SUMMARY JUDGMENT STAGE ........................ 1

II.       CMS’S PROMULGATION OF THE ACTIVITY TO CREATE AND IMPLEMENT
          AN ANTI-RACISM PLAN WAS NOT ULTRA VIRES .................................................... 6

III.      ANY RELIEF MUST BE TAILORED ONLY TO REDRESS PLAINTIFFS’
          INJURIES ......................................................................................................................... 14

CONCLUSION ............................................................................................................................. 17




                                                                      i
      Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 3 of 22



                                               TABLE OF AUTHORITIES


Cases
Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,
   458 U.S. 592 (1982) ................................................................................................................. 3
Amgen, Inc. v. Smith,
  357 F.3d 103 (D.C. Cir. 2004) ................................................................................................ 12
Biden v. Missouri,
   142 S. Ct. 647 (2022) (per curiam) ......................................................................................... 13
City of Arlington, Tex. v. FCC,
   569 U.S. 290 (2013) ............................................................................................................... 12
Clapper v. Amnesty International, USA,
   568 U.S. 398 (2013) ................................................................................................................. 2
Clark v. Martinez,
   543 U.S. 371 (2005) ................................................................................................................. 9
Colville v. Becerra,
   No. 1:22-cv-113, 2023 WL 2668513 (S.D. Miss. Mar. 28, 2023) ........................................... 3
Crawford v. Hinds Cnty. Bd. of Supervisors,
   1 F.4th 371 (5th Cir. 2021) ....................................................................................................... 2
Crosby v. Nat’l Foreign Trade Council,
   530 U.S. 363 (2000) ................................................................................................................. 2
Data Mktg. P’ship, LP v. U.S. Dep’t of Labor,
  45 F.4th 846 (2022) ................................................................................................................ 14
GBX Assocs., LLC v. United States,
  No. 1:22-CV-401, 2022 WL 16923886 (N.D. Ohio Nov. 14, 2022) ..................................... 15
Gill v. Whitford,
   138 S. Ct. 1916 (2018) ............................................................................................................ 15
Haaland v. Brackeen,
  143 S. Ct. 1609 (2023) ...................................................................................................... 1, 2, 3
Indep. Turtle Farmers of La., Inc. v. U.S.,
   703 F. Supp. 2d 604 (W.D. La. 2010) .................................................................................... 12
Kellam v. Servs.,
   No. 3:12-CV-352-P, 2013 WL 12093753 (N.D. Tex. May 31, 2013) ................................... 16

                                                                    ii
      Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 4 of 22



Lefebure v. D’Aquilla,
   15 F.4th 650 (5th Cir. 2021) ................................................................................................... 14
Little v. KPMG LLP,
    575 F.3d 533 (5th Cir. 2009) .................................................................................................... 5
Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ................................................................................................................. 4
Massachusetts v. EPA,
  549 U.S. 497 (2007) ................................................................................................................. 5
Midship Pipeline Co., L.L.C. v. FERC,
  45 F.4th 867 (5th Cir. 2022) ................................................................................................... 12
Milavetz, Gallop & Milavetz, P.A. v. United States,
   559 U.S. 229 (2010) ................................................................................................................. 9
NFIB v. OSHA,
  142 S. Ct. 661 (2022) .............................................................................................................. 13
Ortiz v. Am. Airlines, Inc.,
   5 F.4th 622 (5th Cir. 2021) ................................................................................................. 4, 14
Shands Jacksonville Med. Ctr. v. Burwell,
   139 F. Supp. 3d 240 (D.D.C. 2015) .................................................................................. 14, 15
Skyworks, Ltd. v. CDC,
   542 F. Supp. 3d 719 (N.D. Ohio 2021) ............................................................................ 15, 16
United States v. Texas
  143 S. Ct. 1964 (2023)..................................................................................................... passim
Texas v. Becerra
   575 F. Supp. 3d 701 (N.D. Tex. 2021) ................................................................................... 13
United States v. Fischer,
  64 F.4th 329 (D.C. Cir. 2023) .................................................................................................. 8
Utility Air Regulatory Grp. v. EPA,
   573 U.S. 302 (2014) ............................................................................................................... 13
Virginia Soc’y for Hum. Life, Inc. v. FEC,
   263 F.3d 379 (4th Cir. 2001) .................................................................................................. 16
West Virginia v. EPA,
  142 S. Ct. 2587 (2022) ...................................................................................................... 12, 13

U.S. Constitution
Article VI of the Constitution ........................................................................................................ 2
                                                          iii
       Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 5 of 22



United States Code
5 U.S.C. § 706 .............................................................................................................................. 11
42 U.S.C. § 1395w-4 ............................................................................................................ passim

Regulations
42 C.F.R. § 414.1380 ..................................................................................................................... 5
86 Fed. Reg. 64,996 (Nov. 19, 2021) ................................................................................... 7, 8, 10

Other Authorities
CMS, Traditional MIPS: Explore Measures and Activities,
  https://perma.cc/NT9A-LZLW ........................................................................................... 9, 13
CMS Framework for Health Equity 2022-2023,
  https://perma.cc/SDM8-TBVJ ............................................................................................ 7, 10




                                                                      iv
     Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 6 of 22



                                        INTRODUCTION

        Plaintiffs’ challenge to the rule fails at the threshold because Plaintiffs lack standing, and

it is otherwise without merit because the challenged MIPS clinical practice improvement activity

is not ultra vires. First, as to standing, after this Court denied Defendants’ motion to dismiss, the

Supreme Court held that a conflict between state and federal law does not suffice to establish a

state’s standing to challenge a federal policy, Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023).

Plaintiffs’ attempt to distinguish Brackeen based on the nature of the claim alleged is unavailing.

Second, Plaintiffs submitted no evidence of actual harm to meet their evidentiary burden as to

standing at the summary judgment stage. Third, any theoretical harm would be traceable to the

independent choices of clinicians, not to Defendant Centers for Medicare & Medicaid Services

(“CMS”).

        As to the merits, the Court should reject Plaintiffs’ effort to mischaracterize the rule as

encouraging the creation of “racial-prioritization plans.” The rule encourages clinicians to create

and implement “anti-racism plans,” which are designed to create health equity, not to prioritize the

health of any individual or group of individuals. And Defendants previously showed that there is

ample evidence in the Administrative Record, as well as outside the record, that this new activity

meets the statutory definition, and Plaintiffs’ arguments to the contrary misapply the canons of

statutory construction and are without merit. Finally, the major questions doctrine does not apply

to the creation of a single optional activity in the massive MIPS program.

                                           ARGUMENT

   I.        PLAINTIFF STATES HAVE FAILED TO CARRY THEIR BURDEN TO
             ESTABLISH STANDING AT THE SUMMARY JUDGMENT STAGE

        1.     Plaintiffs’ alleged injuries are not cognizable. Mem. in Support of Defs.’ Cross-

Mot. for Summ. J. at 8-10 (ECF No. 91) (“Defs.’ Mem.”). Just this summer, the Supreme Court
                                             1
     Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 7 of 22



held that states lack standing to challenge federal actions based solely on a conflict between state

and federal law. Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023). Plaintiffs’ attempt to

distinguish Brackeen is unpersuasive. Although it is true that Texas brought a different legal claim

in Brackeen than Plaintiffs bring here (an equal protection claim as opposed to an ultra vires

claim), Pls.’ Combined Reply in Supp. of Mot. for Summ. J. & Opp’n to Defs.’ Cross-Mot. for

Summ. J. at 12-13 (ECF No. 108) (“Pls.’ Opp’n”), that is irrelevant to the standing analysis. The

implication of Plaintiffs’ novel argument that this Court is not bound by Brackeen’s holding

because this case presents a different substantive claim is that, for example, lower courts would be

bound by the imminence requirement of Clapper v. Amnesty International, USA, 568 U.S. 398,

410 (2013), only in cases with First and Fourth Amendment claims. But see, e.g., Crawford v.

Hinds Cnty. Bd. of Supervisors, 1 F.4th 371, 375 (5th Cir. 2021) (applying Clapper to ADA claim).

In Brackeen, the Supreme Court held that Texas lacked a cognizable injury to challenge the Indian

Child Welfare Act based on its allegation that the statute conflicted with the state’s

antidiscrimination law. 143 S. Ct. at 1640. Plaintiffs here allege the same injury with respect to the

challenged rule—that it conflicts with their interest in their antidiscrimination laws. Thus,

Brackeen’s limitation on state standing applies fully to Plaintiffs’ challenge.

       The rule announced in Brackeen is consistent with the “history and tradition” of federal

jurisdiction. Cf. United States v. Texas, 143 S. Ct. 1964, 1970 (2023) (recognizing that for Article

III jurisdiction, plaintiff’s “asserted injury [must be] traditionally redressable in federal court”).

The Supremacy Clause, Art. VI, cl. 2, instructs that “state law is naturally preempted to the extent

of any conflict with a federal statute.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372

(2000). It would be inconsistent with Article VI of the Constitution for federal courts to exercise

Article III jurisdiction to hear challenges where the only alleged injury is a conflict between state


                                                  2
     Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 8 of 22



and federal law. See Texas, 143 S. Ct. at 1972 n.3 (“[F]ederal courts must remain mindful of

bedrock Article III constraints in cases brought by States against an executive agency or officer.”).

        Plaintiffs’ alleged injury is even more attenuated than the injury the Court refused to

recognize in Brackeen. There, Texas was involved in enforcing the allegedly unlawful federal

statute, but that was still not a sufficiently “concrete” and “particularized” injury. 143 S. Ct. at

1640. Here, Plaintiffs do not allege any involvement with enforcing the clinical practice

improvement activity they allege would injure them. Accepting Plaintiffs’ theory would

effectively allow states to manufacture standing by interpreting state laws in a manner that

conflicts with federal programs. See id. (criticizing injury theory where “a State would always

have standing” to challenge federal policies); see also Texas, 143 S. Ct. at 1972 n.3 (“in our system

of dual federal and state sovereignty,” federal policies often have “indirect effects” without giving

rise to state standing).

        Plaintiffs also argue that they have a cognizable “interest in the health and ‘economic well-

being’” of their citizens that their state laws protect, Pls.’ Opp’n at 5. But this is a parens patriae

claim, and “a State does not have standing as parens patriae to bring an action against the Federal

Government.’” Brackeen, 143 S. Ct. at 1640 (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico

ex rel. Barez, 458 U.S. 592, 610 n.16 (1982)) (cleaned up). Brackeen abrogated the various Fifth

Circuit cases that ignored Snapp’s clear statement, upon which this Court relied at the motion to

dismiss stage.

        Assuming without conceding that Plaintiffs’ alleged injuries were cognizable under Fifth

Circuit precedent when this Court decided Defendants’ motion to dismiss, Colville v. Becerra, No.

1:22-cv-113, 2023 WL 2668513, at *15 (S.D. Miss. Mar. 28, 2023); but see Defs.’ Mot. to Dismiss

(ECF No. 37), Brackeen and Texas changed the law. This Court lacks jurisdiction to decide the


                                                  3
     Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 9 of 22



States’ claim, because the States fail to allege an injury that survives Brackeen. No more is

necessary to decide this case.

          2.     Even if a conflict between state and federal law could give rise to Article III

standing in some instances, Plaintiffs have not introduced any evidence of an actual conflict here

that causes a state harm. Defs.’ Mem. at 10. “The plaintiff can establish standing at the summary

judgment stage only by setting forth by affidavit or other evidence specific facts, which, taken as

true, support each element of the standing analysis.” Ortiz v. Am. Airlines, Inc., 5 F.4th 622, 628

(5th Cir. 2021) (cleaned up and citation omitted). “General allegations,” which were enough at the

motion to dismiss stage, are no longer sufficient. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992).

          The record contains no evidence of a “concrete” and “particularized” injury to any state.

The only record evidence that Plaintiffs point to is the CMS Disparities Impact Statement (“DIS”)

mentioned in the challenged rule. Pls.’ Opp’n at 14-15. But the DIS itself provides no evidence of

a conflict with any state law, much less a conflict that causes concrete harm to a state. Plaintiffs

have not introduced any evidence of clinicians creating and implementing anti-racism plans in

their States, plans (or parts of plans) that conflict with state law, concrete harms experienced by

Plaintiff States from any such plans, or harms experienced by Plaintiff States without allegedly

conflicting state laws. See id. at 14 n.2 (identifying only five Plaintiff States with allegedly

conflicting antidiscrimination laws).1 Because Plaintiffs have not introduced any evidence to meet

their burden to prove injury, the Court should grant Defendants’ motion for summary judgment.

          3.     In any event, any injury resulting from a hypothetical conflict between the

voluntary federal clinical practice improvement activity to create and implement an anti-racism


          1
          The record also does not show that any of the Plaintiff States enforce their
antidiscrimination laws against health care providers.
                                                4
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 10 of 22



plan and state law would be traceable to the clinician who chooses to implement a plan that

contravenes state law, not the challenged rule. Plaintiffs’ allegations depend on “several layers of

decisions by third part[y]” clinicians. See Little v. KPMG LLP, 575 F.3d 533, 541 (5th Cir. 2009).

It is purely speculative that clinicians in Plaintiff States would choose to create anti-racism plans

in a manner that conflicts with state law. And, contrary to Plaintiffs’ assertion, Pls.’ Opp’n at 15,

such a conflict would not be a “predictable effect of” the challenged rule. As an initial matter, no

clinician in any state must create an anti-racism plan. The challenged improvement activity is one

of more than 100 MIPS improvement activities from which clinicians can choose, and they

generally need only complete two to four such activities to receive full credit towards MIPS

payment. 42 C.F.R. § 414.1380(b)(3). Moreover, nothing in the rule requires or encourages

clinicians to create anti-racism plans that violate state antidiscrimination laws. Thus, there is no

reason to predict that any clinician in the Plaintiff States who decides to develop an anti-racism

plan would create a plan that violates state law. If a clinician were to make the independent choice

to create a plan that conflicts with a state law, and that conflict caused a state harm, that harm

would be traceable to the clinician rather than to Defendants.

       4.      The Court need not reach the issue of “special solicitude” because, as Plaintiffs do

not dispute, “special solicitude” does not relieve states of their obligation to establish a cognizable

injury in fact. See Defs.’ Mem. at 11.

       Still, Plaintiffs are not entitled to “special solicitude.” The Court “should just leave that

idea on the shelf.” Texas, 143 S. Ct. at 1977 (Gorsuch, J., joined by Thomas and Barrett, JJ.,

concurring in the judgment). Plaintiffs’ claim for “special solicitude” also fails on its own terms.

Plaintiffs’ alleged injuries are fundamentally unlike the “quasi-sovereign” injury in Massachusetts

v. EPA, 549 U.S. 497, 518 (2007). Massachusetts involved an alleged invasion of a state’s

sovereign interest: its territory. Id. An alleged conflict between state and federal law does not
                                                  5
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 11 of 22



encroach on a state’s sovereign prerogative in the same way, given that the Supremacy Clause

resolves such disputes in favor of the federal government. Moreover, Plaintiffs lack the procedural

right required for “special solicitude.” The standing analysis in Massachusetts “do[es] not control”

because “[t]he issue there involved a challenge to the denial of a statutorily authorized petition for

rulemaking.” Texas, 143 S. Ct. at 1975 n.6. Plaintiffs’ ultra vires challenge is not an equivalent

procedural right to challenge the improvement activity. See generally id. (rejecting states’ APA

challenge that federal policy was unlawful).

    II.        CMS’S PROMULGATION OF THE ACTIVITY TO CREATE AND
               IMPLEMENT AN ANTI-RACISM PLAN WAS NOT ULTRA VIRES

          Even if Plaintiffs have standing, however, Defendants are still entitled to summary

judgment because CMS’s promulgation of the new activity to create and implement an anti-racism

plan was not ultra vires. As Defendants previously showed, there is ample evidence in the

Administrative Record, as well as outside the record, that the creation and implementation of an

anti-racism plan has been identified by “relevant eligible professional organizations and other

relevant stakeholders . . . as improving clinical practice or care delivery” and has been determined

by CMS to be, “when effectively executed, . . . likely to result in improved outcomes.” 42 U.S.C.

§ 1395w-4(q)(2)(C)(v)(III). Therefore, adding the activity of creating and implementing an anti-

racism plan to the MIPS improvement activities inventory—that is, providing a financial incentive

to engage in such an activity—was well within CMS’s statutory authority. Plaintiffs’ arguments

to the contrary are without merit.

          1.     Plaintiffs’ merits arguments largely boil down to a mischaracterization of the rule.

According to Plaintiffs, the rule unambiguously directs clinicians to create and implement “racial-

prioritization plans” that prioritize the treatment of certain patients based on race or ethnicity. See,

e.g., Pls.’ Opp’n at 1. But Plaintiffs cannot rewrite the rule to obtain an order invalidating it. The

                                                   6
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 12 of 22



rule CMS actually promulgated encourages clinicians to create and implement an “anti-racism

plan” designed to create health equity, not to prioritize the health of any individual or group of

individuals over others. As explained in the rule, an anti-racism plan can further health equity by,

among other things, providing “ongoing training on anti-racism and/or other processes to support

identifying explicit and implicit biases in patient care and addressing historic health inequities

experienced by people of color” or “improv[ing] language access and accessibility to ensure

services are accessible and understandable for those seeking care.” 86 Fed. Reg. 64,996, 65,970

(Nov. 19, 2021), AR0005-0006.

       Plaintiffs’ effort to rewrite the rule is not based on the language of the rule itself, but rather

on the DIS that CMS cited as one possible “planning tool[]” for creating an anti-racism plan, 86

Fed. Reg. at 65,969, AR00004. See, e.g., Pls.’ Opp’n at 8, 11, 14, 19. Plaintiffs’ focus on the DIS

and certain phrases in it is misguided. First, the rule does not require clinicians to use the DIS;

instead, it explicitly permits clinicians flexibility to use “other anti-racism planning tools” when

drafting their anti-racism plans. 86 Fed. Reg. at 65,969, AR00004.

       Second, the DIS, as well as more generally any anti-racism plan developed by clinicians,

is intended to focus clinicians’ efforts on increasing access to health care for underserved

populations (for which clinicians can receive enhanced payment under MIPS). These efforts do

not require provision of lesser care to other populations served by those clinicians but seek to

optimize access to care for everyone. Health equity, the goal of the anti-racism plan activity and

of the DIS, means “the attainment of the highest level of health for all people, where everyone has

a fair and just opportunity to attain their optimal health.” See CMS Framework for Health Equity

2022-2023, at 1, https://perma.cc/SDM8-TBVJ (“CMS Framework”) (emphasis added). Helping

underserved populations achieve optimal health does not require a reduction in the services to

other populations.
                                                   7
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 13 of 22



        2.      Plaintiffs’ contentions that the anti-racism plan activity does not meet the statutory

definition of “clinical practice improvement activity” are wrong for several reasons.

                a.      First, Plaintiffs are wrong that the anti-racism plan activity is not

sufficiently similar to the kinds of activities listed as examples in the statute. Pls.’ Opp’n at 19-20.

They argue that the statutory examples focus on “improving care for patients generally, not a subset

of them,” whereas the challenged activity focuses on “prioritizing patients of one race over patients

of another, all divorced from physiology.” Id. Plaintiffs mischaracterize the purpose of an anti-

racism plan, which is designed to create health equity, not to prioritize the treatment of certain

races over others. Moreover, the anti-racism plan activity is not dissimilar to the statutory examples

simply because it may focus on a “subset” of patients. At least one example in the statute, “the

establishment of care plans for individuals with complex care needs,” 42 U.S.C. § 1395w-

4(q)(2)(b)(iii)(IV), also focuses on a subset of patients—those with complex care needs.

        In any event, the doctrine of noscitur a sociis on which Plaintiffs rely is not applicable here

because “[t]he subsections’ disparate verbs and objects defy any attempt to group them together.”

United States v. Fischer, 64 F.4th 329, 346 (D.C. Cir. 2023). And, even if the doctrine did apply

in these circumstances, Plaintiffs’ identification of the purported common quality in the statutory

list of activities—as “improving care for patients generally”—has no basis in the language of the

statute. The definition of clinical practice improvement activity refers to activities that improve

“clinical practice or care delivery,” not to whether an activity must apply to all patients or a subset

thereof, and the examples listed in the statute also do not specify general applicability. Indeed,

other clinical practice improvement activities promulgated by CMS over the years focus on

specific diseases or populations, such as, e.g., “Diabetes Screening” “for people with schizophrenia

or bipolar disease who are using antipsychotic medication,” “Anticoagulant Management

Improvements,” or “Implementation of Integrated Patient Centered Behavioral Health Model” “to
                                              8
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 14 of 22



support patients with behavioral health needs who also have conditions such as dementia or other

poorly controlled chronic illnesses.” See CMS, Traditional MIPS: Explore Measures and

Activities, https://perma.cc/NT9A-LZLW. Plaintiffs do not seek invalidation of all these activities.

       Plaintiffs argue that their view as to the significance of the statutory examples of clinical

practice improvement activities should prevail to avoid constitutional concerns, which otherwise

would arise if “any activity can be a clinical practice improvement activity.” Pls.’ Opp’n at 22-23

(emphasis supplied). But Defendants do not contend that the statute permits “any activity [to] be

a clinical practice improvement activity.” Rather, as the statute plainly provides, a clinical practice

improvement activity must be an activity that “relevant eligible professional organizations and

other relevant stakeholders identify as improving clinical practice or care delivery and that the

Secretary determines, when effectively executed, is likely to result in improved outcomes.” 42

U.S.C. § 1395w-4(q)(2)(C)(v)(III). The doctrine of constitutional avoidance is a “tool for choosing

between competing plausible interpretations of a statutory text.” Clark v. Martinez, 543 U.S. 371,

381 (2005) (emphasis added). It does not permit Plaintiffs to convert Defendants’ plausible

interpretation into an implausible one based on a hyperbolic extension, and then ask the Court to

reject Defendants’ interpretation. Accordingly, the constitutional-avoidance doctrine has no

applicability here. Milavetz, Gallop & Milavetz, P.A. v. United States, 559 U.S. 229, 239 (2010)

(In applying the canon of constitutional avoidance, “we will consider only those constructions of

a statute that are fairly possible.”) (cleaned up and citation omitted).

               b.      Second, Plaintiffs argue that the anti-racism plan activity fails the statutory

definition because relevant organizations did not identify this activity as improving clinical

practice or care delivery “before Defendants acted,” as allegedly required by the statute. Pls.’

Opp’n at 20 (emphasis in original). But the comments appearing in the Administrative Record that

identify this activity as improving clinical practice or care delivery (see Defs.’ Mem. at 15) were
                                                  9
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 15 of 22



made before the Secretary finalized the new activity and hence were made before the Secretary’s

final decision.

       There is no support in the language of the statute for Plaintiffs’ alternative assertion that

support by relevant organizations must be articulated before the Secretary even “proposed” the

new activity. Pls.’ Opp’n at 21. In any event, some of the materials relied on by the Secretary did

promote anti-racism approaches before the Secretary proposed the new activity in July 2021. See

AR2296; AR2282. And Plaintiffs’ claim that the Secretary cannot propose an activity based on his

understanding of “what professionals think” “before” those professionals formally identify an

activity as improving clinical practice or care delivery (Pls.’ Opp’n at 20) ignores that the Secretary

and professionals often work simultaneously with one another to improve the healthcare system.

See CMS Framework, at 7 (stating that CMS’s health-equity efforts have been “informed by . . .

years of stakeholder input, evidence review, and knowledge and understanding gained through the

Agency’s work”).

       Plaintiffs also mischaracterize Defendants’ position as arguing that “any activity is a

clinical practice improvement activity if relevant organizations say it’s a good thing and the

Secretary agrees.” Pls.’ Opp’n at 20 n.15. In fact, the statute does not grant the Secretary unfettered

discretion in establishing improvement activities; rather, the statute requires the Secretary to find

that an activity, “when effectively executed, is likely to result in improved outcomes.” 42 U.S.C.

§ 1395w-4(q)(2)(C)(v)(III). The Secretary made such a determination here, 86 Fed. Reg. at 65,969,

and Plaintiffs do not meaningful challenge that fact.

                  c.   Third, Plaintiffs argue that the anti-racism plan activity fails the definition

of “clinical practice improvement activity” because commenters did not specifically say that anti-

racism plans would improve clinical practice or care delivery, only that they supported the activity.

Pls.’ Opp’n at 21-22. Plaintiffs read the comments too narrowly, however. Those comments make
                                               10
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 16 of 22



clear that organizations supported the anti-racism plan activity as a measure that would address

health inequity, which leads to disparities in quality of care. See Am. Hosp. Ass’n, Equity of Care:

A Toolkit for Eliminating Health Care Disparities, cited at AR0351 (“Adopting activities to

enhance patients’ access . . . is essential for reducing disparities and reaching the ultimate goal of

building a health care system that delivers the highest quality of care to every patient . . . .”);2

AR0146 (comment by the Association of American Medical Colleges that the anti-racism plan

activity will “address systemic racism as a root cause of inequity”); AR2296 (article stating that

“actively working against racism, by evaluating curricula, practices, training models, behaviors,

and actions through a lens of anti-racism” will address “systems that have structurally been

designed to do harm”).

       3.       There is also evidence outside the record, pre-dating the proposal of the new

activity, that anti-racism programs are likely to improve treatment outcomes and hence “clinical

practice or care delivery.” Defs.’ Mem. at 22 (citing Thatcher Declaration, ECF No. 62-9, which

discusses a 2017 report). Plaintiffs’ contention that the Court should disregard these materials

outside the Administrative Record, Pls.’ Opp’n at 17-18, should be rejected. Plaintiffs assert that

one aspect of their ultra vires claim purportedly “arises under [section 706 of] the” Administrative

Procedure Act (“APA”) because they are asserting that the activity is “not in accordance with law”

under 5 U.S.C. § 706(2)(A) or is “in excess of statutory jurisdiction, authority, or limitations, or

short of statutory right” under 5 U.S.C. § 706(2)(C). They therefore contend that section 706’s

limitation of review to the Administrative Record governs review of this aspect of their claim.

       But Plaintiffs cannot have it both ways. They cannot avoid 42 U.S.C. § 1395w-4(q)’s

jurisdictional bar on review of all claims (including APA claims) regarding the identification of


       2
           Defendants’ Memorandum at page 17 incorrectly identified this quote as appearing on
AR1398.
                                                 11
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 17 of 22



clinical practice improvement activities by asserting an ultra vires claim while at the same time

contending that their ultra vires claim must be adjudicated pursuant to the dictates of the APA.

The Court’s consideration of whether the anti-racism plan activity falls within the statutory

definition of a clinical practice improvement activity is a question of statutory interpretation

concerning the agency’s jurisdiction and authority to regulate. For such claims, the Court’s review

is not limited to the factual record before the agency but rather is guided by standard statutory

interpretation principles. See City of Arlington, Tex. v. FCC, 569 U.S. 290, 301 (2013) (addressing

“questions about the scope of agencies’ regulatory jurisdiction”); see also Amgen, Inc. v. Smith,

357 F.3d 103, 114, 117 (D.C. Cir. 2004) (addressing issues regarding the scope of the Secretary’s

equitable adjustment authority by analyzing the “plain text” of the statute). Therefore, courts

routinely evaluate whether an agency has exceeded its statutory authority without being limited to

the Administrative Record. See generally Midship Pipeline Co., L.L.C. v. FERC, 45 F.4th 867, 870

(5th Cir. 2022); Indep. Turtle Farmers of La., Inc. v. U.S., 703 F. Supp. 2d 604, 621 (W.D. La.

2010). Although the Court need not reach this issue, as it can uphold the new activity based on the

information included in the Administrative Record, it is not limited to those materials only here.

       4.      Finally, the major questions doctrine is not implicated here. The major questions

doctrine applies only in “extraordinary cases” involving “major policy decisions” of “vast

economic and political significance” with “assertions of extravagant statutory power over the

national economy,” West Virginia v. EPA, 142 S. Ct. 2587, 2608–09 (2022) (citation omitted),

such as when an agency “claim[s] to discover in a long-extant statute an unheralded power

representing a transformative expansion in its regulatory authority,” id. at 2610 (citation omitted).

In such extraordinary cases, an agency “must point to ‘clear congressional authorization’ for the

power it claims,” rather than a “merely plausible textual basis.” Id. at 2609.


                                                 12
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 18 of 22



       CMS’s decision to add another voluntary activity to a list of more than 100 other such

activities does not come remotely close to the “extraordinary cases” described by the Supreme

Court, like the EPA’s assertion of authority to regulate millions of sources that emit greenhouse

gases, or OSHA’s assertion of authority to require 84 million Americans either to obtain a COVID–

19 vaccine or undergo weekly testing. West Virginia, 142 S. Ct. at 2608–09 (citing Utility Air

Regulatory Grp. v. EPA, 573 U.S. 302 (2014), and NFIB v. OSHA, 142 S. Ct. 661 (2022)). But

even if this case could be viewed as involving a “major policy decision[]” of “vast economic and

political significance,” it would not matter. Congress clearly gave the Secretary the authority to

“establish” MIPS and to “develop a methodology for assessing” performance under MIPS, as well

as to “identify” clinical practice improvement activities and “specify[] criteria for such activities.”

42 U.S.C. § 1395w-4(q)(1)(A), (2)(C)(v)(I). And the anti-racism plan activity promulgated by the

Secretary is not “novel” but rather like historical exercises of the same statutory authority, and is

within the agency’s expertise. For example, CMS has previously promulgated activities such as

“Create and Implement a Plan to Improve Care for Lesbian, Gay, Bisexual, Transgender, and

Queer Patients,” “Participation in Population Health Research,” “Practice Improvements that

Engage Community Resources to Address Drivers of Health,” and “Regular Review Practices in

Place on Targeted Patient Population Needs,” all of which are directed at improving health equity

across populations. See https://perma.cc/NT9A-LZLW.

       The case relied on by Plaintiffs, Texas v. Becerra, 575 F. Supp. 3d 701 (N.D. Tex. 2021),

actually supports Defendants. Similar to the rule challenged here, the rule at issue in that case

applied only to facilities that participate in Medicare and Medicaid; it required those facilities to

establish policies and procedures for ensuring COVID-19 vaccination of certain staff in the

facilities. The Supreme Court upheld the rule without reference to or application of the major

questions doctrine, Biden v. Missouri, 142 S. Ct. 647 (2022) (per curiam).
                                               13
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 19 of 22



   III.      ANY RELIEF MUST BE TAILORED ONLY TO REDRESS PLAINTIFFS’
             INJURIES

          Plaintiffs cite only two binding authorities in attempting to rebut Defendants’ argument

that the APA does not authorize universal vacatur; neither case carries the day. Pls.’ Opp’n at 25-

26. In those cases, no party argued that the APA does not authorize universal vacatur. See Data

Mktg. P’ship, LP v. U.S. Dep’t of Labor, 45 F.4th 846, 859 (2022) (noting that the defendant

agency “ma[de] no developed argument” that vacatur was not the proper remedy); Brief for

Appellant, Franciscan All., Inc. v. Becerra, 21-11174 (C.A.5), (March 28, 2022). It is well

established that “a panel’s assumption”—that the APA permits universal vacatur—“‘is not binding

if the adverse party did not challenge and [the panel] did not consider’ that issue.” Ochoa-Salgado

v. Garland, 5 F.4th 615, 619 (5th Cir. 2021) (collecting cases). This remains true even when the

assumption was necessary to the decision. See Lefebure v. D’Aquilla, 15 F.4th 650, 657 (5th Cir.

2021), cert. denied, 142 S. Ct. 2732 (2022). Three Justices on the Supreme Court have recently

recognized that there are “serious” arguments that the APA does not “empower[] courts to vacate

agency action.” Texas, 143 S. Ct. at 1980-83 (Gorsuch, J., joined by Thomas and Barrett, JJ.,

concurring in the judgment). The statute does not permit vacatur, for the reasons Defendants have

explained. See Defs.’ Mem. at 24-25.

          Alternatively, if a remedy is appropriate and even if the Court holds that the APA

authorizes vacatur, the Court should instead grant remand without vacatur. Plaintiffs do not dispute

that vacatur of the rule could cause significant disruption by unexpectedly leaving clinicians facing

lower reimbursement from HHS for the past payment years and the current payment year and

potentially requiring Defendants to attempt to recoup spent funds. This disruption is sufficient to

justify remand without vacatur. Shands Jacksonville Med. Ctr. v. Burwell, 139 F. Supp. 3d 240,



                                                 14
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 20 of 22



270 (D.D.C. 2015) (“There is no rule requiring either the proponent or opponent of vacatur to

prevail on both factors.”).

        Plaintiffs instead focus on whether Defendants will be able to cure any legal defect on

remand. See Pls.’ Opp’n at 25-26. Given the difficulty of predicting the specifics of any adverse

order, Defendants respectfully suggest that, if the Court concludes that the challenged rule is

unlawful and the disruption from vacatur Defendants have identified is not sufficient in itself to

warrant remand without vacatur, the Court should permit the parties to file short supplemental

briefs limited to the question of whether HHS can cure the identified legal defect(s).3

        At a minimum, any necessary relief should be limited to the parties that prove an injury.

Plaintiffs do not contest that vacatur of the rule in the Plaintiff States that have allegedly conflicting

antidiscrimination laws would adequately redress those States’ injuries. Pls.’ Opp’n at 26. The

Court should follow the normal rules of equity and tailor any remedy to address any proven

injuries. See, e.g., Gill v. Whitford, 138 S. Ct. 1916, 1933 (2018). Indeed, where “party-specific

relief can adequately protect the plaintiff’s interests,” entering “broader relief is an abuse of

discretion.” Texas, 143 S. Ct. at 1980, 1986 (Gorsuch, J., concurring). To the extent Plaintiffs

suggest that the meaning of “set aside” within the APA means to nullify an agency action

universally, Defendants have explained why that is wrong. See supra; Defs.’ Mem. at 24. There is

ample precedent for setting aside agency action pursuant to Section 706(2) of the APA only as to

the plaintiffs that have established standing. See, e.g., GBX Assocs., LLC v. United States, No.

1:22-CV-401, 2022 WL 16923886, at *18 (N.D. Ohio Nov. 14, 2022) (setting aside agency action

only as to the plaintiff); Skyworks, Ltd. v. CDC, 542 F. Supp. 3d 719, 735-36 (N.D. Ohio 2021)



        3
          As just one example, if the Court identifies a legal flaw with the Disparities Impact
Statement, CMS may be able to address that issue by revising the Statement to remove language
that the Court finds is problematic.
                                              15
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 21 of 22



(noting that “the lack of a firm foundation for nationwide vacatur in the language, structure, and

history of the [APA] is striking” and, accordingly, setting aside agency action only with respect to

“the parties and their members”), appeal dismissed, No. 21-3563, 2021 WL 4305879 (6th Cir.

Sept. 21, 2021); cf. Virginia Soc’y for Hum. Life, Inc. v. FEC, 263 F.3d 379, 394 (4th Cir. 2001)

(holding that “[n]othing in the language of the APA” requires universal vacatur and directing the

district court on remand to limit the scope of its permanent injunction to the plaintiff), overruled

on other grounds by Real Truth About Abortion, Inc. v. FEC, 681 F.3d 544 (4th Cir. 2012). This

Court should limit any vacatur to the Plaintiff States that have allegedly conflicting

antidiscrimination laws.

       Finally, Plaintiffs have abandoned their request for injunctive relief by not responding to

Defendants’ argument that the Court should not issue an injunction, Defs.’ Mem. at 24. See Kellam

v. Servs., No. 3:12-CV-352-P, 2013 WL 12093753, at *3 (N.D. Tex. May 31, 2013) (“Generally,

the failure to respond to arguments constitutes abandonment or waiver of the issue.”) (citation

omitted).




                                                16
    Case 1:22-cv-00113-HSO-RPM Document 122 Filed 10/19/23 Page 22 of 22



                                        CONCLUSION

       For the reasons set forth above and in Defendants’ opening memorandum, Defendants are

entitled to summary judgment, and Plaintiffs’ motion for summary judgment should be denied.

Dated: October 19, 2023                        Respectfully submitted,
                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General
                                               Civil Division
 Of Counsel
                                               MICHELLE BENNETT
 SAMUEL R. BAGENSTOS
 General Counsel                               Assistant Director, Federal Programs Branch

 JANICE L. HOFFMAN                             /s/ Carol Federighi
 Associate General Counsel                     CAROL FEDERIGHI
 SUSAN MAXSON LYONS                            Senior Trial Counsel
 Deputy Associate General Counsel              BRIAN C. ROSEN-SHAUD
 for Litigation                                Trial Attorney
                                               United States Department of Justice
 DEBRA M. LABOSCHIN                            Civil Division, Federal Programs Branch
 Attorney                                      P.O. Box 883
 United States Department of Health &          Washington, DC 20044
 Human Services                                Phone: (202) 514-1903
                                               Email: carol.federighi@usdoj.gov

                                               Counsel for Defendants




                                             17
